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    ">A() 245B 1CASD1 (Re' -\ 141   Judgment in ciCnmmal Ca'e
               Sheet I                                                                                                             Fl LED
                                                                                                                               t1 FEB 15 PH 2: I 3
                                              UNITED STA TES DISTRICT COURT
                                                  SOUTHERN DISTRICT OF CALIFORNIA

                    UNITED ST A TES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                        v.                                          (For Offenses Committed On or AfttlffNovember I, 1987)

                         TIMOTHY D BRYAN (12)                                       Case Number: 15CR2310-WQH

                                                                                    MICHAEL MCCABL RET
                                                                                    Defendant· s /\nume'
    REGISTRUIO~          :\"O. 51967298

    D
    THE DEFENDANT:
    ~    p~a~dg~l~WcoooUs)_3_0_F_T_I_IT_m_D_K_T_M_E_N_T
                                                      _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

    D was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
         after a plea of not guilt;.
         Accordingly. the defendant is adjudged guilt;. of such count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title & Section                          Nature of Offense                                                                             Number(s)
I RUSC l 956(h)                       MONEY LAUNDERING CONSPIRACY                                                                          3




        The defendant is sentenced as provided in pages 2 through               5             of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D The defendant has been found not guilt} on count(s)
 ~ Count(s) ALL REMAINfNG
                                                           ------------------------------
                                                                                     is   0      are~ dismissed on the motion of the United States.

 ~ Assessment: SJ00.00



 ~ Fine waived                                     0 Forfeiture pursuant to order filed ---------- . included herein.
      IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence.
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment arc fully paid. If ordered to pay restitution, the
dctCndant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                              FEBRUARY 13, 2017




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,\() 2458 (CASD11Rev 4 14 l Judgment ma Cnmmal Case
             Sheet 2 - lmpnsonment

                                                                                                  Judgment -- Page _ _2 _ of
DEFENDANT: TIMOTHY D BRYAN ( 12)
CASE NUMBER: t5CR2310-WQH
                                                            lMPRlSONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         TIME SERVED




     D Sentence imposed pursuant to Title 8 USC Section 1326(b).
     D The court makes the follov.ing recommendations to the Bureau of Prisons:



     D The defendant is remanded to the custody of the United States Marshal.
     D The defendant shall surrender to the United States Marshal for this district:
                                               oa.m.                     on

              as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        D before
                  ----------------------------------------
        0 as notified by the United States Marshal.
        D as notified b) the Probation or Pretrial Services Ofiicc.

                                                                  RETURN

I have executed this judgment as follows:

        Defendant delivered on                                                       to

at                                                    with a certified copy of this judgment.


                                                                                                UNITED STATES 'v1ARSHAL



                                                                                           01-PUTY UNITED STA TES tv1ARSHAL




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         Sheet 3 - Supenised Release
                                                                                                                 Judgment-Page __3__ of
DEFENDANT: TIMOTHY D BRYAN (12)
CASE NUMBER: 15CR2310-WQH
                                                            SUPERVISED RELEASE
Upon release from imprisonment. the defendant shall be on supervised release for a term of:
3 years

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal. state or local crime.
For offenses committed on or a/ierSeptember 13. 1994.
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_drug tests per month during
the term of supervision, unless otherwise ordered by court.
0        The above drug testing condition is suspended. based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check. if applicable.)

         The defendant shall not possess a firearm. ammunition, destructive device. or any other dangerous weapon.
         !he defendant shall cooperate in the collection ofa DNA sample from the defend<lllt, pursuant to section 3 of the DNA Analysis
         Backlog Elimination Act of2000. pursuant to 18 {'SC sections 3563(a)(7) and 3583(d).
         The defendant shall comply with tne requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
         by the probation officer. the Bureau of Prisons. or any state sex offender registration agency in which he or she resides. works, is a student, or
         was convicted of a qualifying offense. (Check if applicable.)
D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

          If this judgment imposes a fine or restitution obligation. it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.


                                          STANDARD CONDITIONS OF SUPERVISION

    l)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer:
    3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)     the defendant shall support his or her dependents and meet other family responsibilities;
    5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training. or other
           acceptable reasons;
    6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess. use. distribute. or administer any
           controlled substance or any paraphernalia related to any controlled substances. except as prescribed by a physician;
    8)     the defendant shall not frequent places where controlled substances are illegally sold. used. distributed. or administered;
    9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
           a felony, unless granted permission to do so by the probation officer;
 I 0)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
 11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
 13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant's compliance with such notification requirement.

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                  Sheet -1 Special Cond1t10ns
                                                                                                        Judgment- Page _ _-1_ of
        DEFENDANT: TIMOTHY D BRYAN ( 12)
        CASE NUMBER: 15CR23 l0-WQH




                                         SPECIAL CONDITIONS OF SUPERVISION
    Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
D
x a reasonable manner. based upon reasonable suspicion of contraband or evidence of a violation of a condition of release: failure to submit to
    a search may be grounds for revocation: the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

D If deported, excluded. or allowed to voluntarily return to country of origin, not reenter the Cnited States illegally and report to the probation
    officer within 24 hours of any reentry to the United States: supervision waived upon deportation, exclusion or voluntary departure.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
D Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
D
x Report all vehicles owned or operated. or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
D Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the presentence
    report and available psychological evaluations to the mental health provider. as approved by the probation officer. Allow for reciprocal
    release of information between the probation officer and the treatment provider. May be required to contribute to the costs of services
    rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.


D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
D Provide complete disclosure of personal and business financial records to the probation officer as requested.
D Be prohibited from opening checking accounts or mcurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
D Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within           days.

D Complete            hours of community service in a program approved by the probation officer within

D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
Dx Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.




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               Sheet 3 - Continued 2 - Supervised Release

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   DEFENDANT: TIMOTHY D BRYAN (12)
   CASE NUMBER: 15CR2310-WQH

                                     SPECIAL CONDITIONS OF SUPERVISION

    Be monitored for a period of 12 months, with the location monitoring technology at the discretion of the
    probation officer. The offender shall abide by all technology requirements and shall pay all or part of the costs of
    participation in the location monitoring program, as directed by the court and/or the probation officer. In addition to
    other court-imposed conditions of release, the offender's movement in the community shall be restricted as specified
    below:

    D You are restricted to your residence every day from _______ to _______. (Curfew)
    D probation
      You are restricted to your residence every day from _______ to _______ as directed by the
                officer. (Curfew)

             You are restricted to your residence at all times except for employment; education; religious services;
             medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered
             obligations; or other activities as pre-approved by the probation officer. (Home Detention)

     D other
       You are restricted to your residence at all times except for medication necessities and court appearances or
             activities specifically approved by the court. (Home Incarceration)


D probation
  Be monitored while under supervision with location monitoring technology at the discretion of the
            officer, which shall be utilized for the purposes of verifying compliance with any court-imposed
     condition of supervision. The offender shall pay all or part of the costs of location monitoring based upon
     their ability to pay as directed by the court and/or probation officer.
